        Case 5:19-cr-00147-gwc Document 1-1 Filed 10/16/19 Page 1 of 3




                                    AFFIDA\rIT
I, Adam Chetwynd, being duly sworn, depose and state as follows:


                                 INTRODUCTION

       I.    I am a Special Agent with the United    States Department of Justice

Drug Enforcement Administration (DEA) and have been since April 2004. I am

currently assigned to the DEA's Burlington, Vermont Resident Office (RO). In

connection with my duties and responsibilities as a law enforcement officer, I have

received extensive training in narcotics investigations and enforcement to include

both formal and informal training in the investigation of violations of controlled

substance offenses. I have received approximately 16 weeks of Basic Training at

the DEA Academy in Quantico, Virginia. The DEA Academy provided training in

conducting narcotics investigations to include: identification, interdiction,

smuggling, clandestine manufacturing, methods of packaging, and distribution        of
drugs; undercover operations; the laundering of drug proceeds; asset forfeiture; use

of confidential sources; and the legal aspects of conducting drug investigations. I

have participated in investigations relating specifically to the possession and

distribution of cocaine and other drugs. I have also participated in various aspects

of investigatory work to include numerous narcotics-related arrests and execution

of many narcotics-related search warrants. I have written affidavits in support   of
search and arrest warrants. I have also interviewed defendants regarding various
        Case 5:19-cr-00147-gwc Document 1-1 Filed 10/16/19 Page 2 of 3




criminal activities, to include narcotics trafficking. These interviews have included

discussions of the use and meaning of code words in the sales and distribution         of

controlled substances.


      2.     I submit this affrdavit to establish probable cause that on or about

October 16,2019, John KAYE of Essex Junction, Vermont possessed with intent

to distribute more than 500 grams of cocaine HCL in violation of    2l   U.S.C.   $


8a1(a). The information contained within this affidavit is based upon my training,

experience, and investigation, as well as information that has been conveyed to me

by other law enforcement officers. The following is either known to me personally

or has been related to me by persons having direct knowledge of the events

described below, including other law enforcement officers involved in this

investigation. Since this affidavit is being submitted for the limited purpose    of

establishing probable cause, I have not included each and every fact known to me

concerning this investigation.


      3.     For the last few weeks DEA has been investigating Kaye for cocaine

distribution. During this time DEA has conducted at least two undercover

purchases of suspected cocaine HCL (freld test positive) from Kaye in Essex

Junction, Vermont. Earlier this week DEA became aware of telephone

communications from Kaye indicating he would be travelling out of state to

acquire new inventory of cocaine for distribution.

                                          2
         Case 5:19-cr-00147-gwc Document 1-1 Filed 10/16/19 Page 3 of 3




        4.    In the early morning hours of October 16,2019, law enforcement

pulled over the vehicle Kaye was driving as it travelled northbound in or near

Shelburne, Vermont. No one else was in the vehicle. A search of the vehicle

tumed up approximately 1500 grams of cocaine HCL (field test positive),

approximately 515,000 in United States curency, and a notebook that appears to

be a ledger reflecting Kaye's drug distribution   activity.   The DEA officer who

conducted the undercover purchases referenced above previously identified Kaye

by reference to a Department of Motor Vehicle photograph of Kaye. I have

reviewed the same photograph, and met Kaye shortly after his a:rest in Shelburne.

Based on this review, Kaye is the same person who sold cocaine to the undercover

DEA agent.

        5.    I know based on my training an experience the quantity of cocaine

that Kaye was transporting is inconsistent with just personal use is indicative of the

possessor's intent to distribute the drug.


        Dated in Burlington, in the District of Vermont, thisl6th day of October,

20t9.

                                        ADAM CFIETWYND
                                        DEA Special Agent

        Sworn and subscribed to before me this 16th day       of
